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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

                      Case No.: 4:22-cv-00059-HLM-WEJ

WILLIAM RIGSBY,

     PLAINTIFF,

V.

HEALTHCARE REVENUE
RECOVERY GROUP, LLC,


   DEFENDANTS.
_____________________________________/

                  Joint Preliminary Report and Discovery Plan

I.     Description of the Case

         a. Nature of the Case
                   Plaintiff alleges that Defendant violated the Fair Debt Collection
            Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and O.C.G.A. § 10-
            1-390 et seq. of the GFBPA during the course of debt collection.
            Defendant, Healthcare Revenue Recovery Group, LLC denies the
            allegations and has raised certain defenses against such allegations.

         b. Facts of the Case

            The subject debt was placed with Defendant Healthcare Revenue
            Recovery Group, LLC to resolve the past due balance on Plaintiff’s
            account. Plaintiff alleges to have received voicemail messages from
            Defendant on January 14, 2022 and February 11, 2022 wherein
            Defendant did not disclose that it was a debt collector. Defendant is

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              reviewing its records to establish all communication made to the
              Plaintiff pertaining to the subject debt.


           c. The Legal Issues to Be Tried

                  i. Whether Defendant Healthcare Revenue Recovery Group, LLC
                     violated 15 U.S.C. § 1692 et seq. when it attempted to contact
                     the Plaintiff.
                 ii. Whether Defendant’s initial communication to the Plaintiff
                     violated the FDCPA.
                iii. Whether Defendant’s voicemails to Plaintiff constitute
                     communication.
                iv. If Defendant violated the FDCPA, (i) were the violations
                     intentional, (ii) were they the result of a bonafide error, and (iii)
                     did they occur despite the maintenance of procedures reasonably
                     adapted to avoid any such errors.
                 v. Whether Defendant Healthcare Revenue Recovery Group, LLC
                     violated O.C.G.A. § 10-1-390 et seq of the GFBPA.
                vi. Whether Plaintiff has suffered an injury as a result of the actions
                     or inactions by Healthcare Revenue Recovery Group, LLC.

           d. Related Cases

                 i. Pending Related Cases: N/A.
                ii. Previously Adjudicated Related Cases: N/A

II.     Counsel do not consider this case to be complex.

III.    Counsel of Record
        The following individually named attorneys are designated lead counsel
        for the parties:

        Matthew T. Berry, Esq.
        Georgia Bar No. 055663
        Berry & Associates
        2751 Buford Highway, Suite 600
        Atlanta, GA 30324
        Telephone: (404) 235-3300
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       Facsimile: (404) 235-3333
       matt@mattberry.com
       Attorneys for Plaintiff
       Lead Counsel for Plaintiff


       Ernest M. Kohlmyer, III, Esq.
       Georgia Bar No. 427760
       Florida Bar No. 110108
       Shepard, Smith, Kohlmyer & Hand, P.A.
       2300 Maitland Center Parkway, Suite 100
       Maitland, FL 32751
       Tel. 407-622-1884
       Facsimile 407-622-1884
       skohlmyer@Shepardfirm.com
       Lead Counsel for Defendant, Healthcare Revenue Recovery Group,
       LLC.

IV.    Jurisdiction

       There is no question regarding this Court’s jurisdiction at this time.

V.     Parties to This Action

          a. The following persons are necessary parties who have not been joined:
             None.
          b. The following persons are improperly joined as parties: None.
          c. The names of the following parties are either inaccurately stated or
             necessary portions of their names are omitted: None.
          d. The parties shall have a continuing duty to inform the Court of any
             contentions regarding unnamed parties necessary to this action or any
             contentions regarding misjoinder of parties or errors in the statement of
             a party’s name.

VI.    Amendments to the Pleadings

          a. List separately any amendment to the pleadings that the parties
             anticipate will be necessary: None.

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          b. Amendments to the pleadings submitted LATER THAN THIRTY
             DAYS after the Joint Preliminary Report and Discovery Plan is filed,
             or should have been filed, will not be accepted for filing, unless
             otherwise permitted by court order.

VII. Filing Times for Motions

              All motions should be filed as soon as possible. The local rules set
       specific filing limits for some motions. These times are restated below.
              All other motions must be filed WITHIN THIRTY DAYS after the
       beginning of discovery, unless the filing party has obtained prior permission
       of the court to file later. Local Rule 7.1A(2).
           a. Motions to Compel: before the close of discovery or within the
              extension period allowed in some instances. Local Rule 37.1
           b. Summary Judgment Motions: within thirty days after the close of
              discovery, unless otherwise permitted by court order. Local Rule 56.1.
           c. Other Limited Motions: Refer to Local Rule 7.2A; 7.2B, and 7.2E,
              respectively, regarding filing limitations for motions pending on
              removal. emergency motions, and motions for reconsideration.
           d. Motions Objecting to Expert Testimony: Daubert motions with regard
              to expert testimony no later than the date that the proposed pretrial order
              is submitted. Refer to Local Rule 7.2F.

VIII. Initial Disclosures

               The parties are required to serve initial disclosures in accordance with
       Fed. R. Civ. P. 26. If any party objects that initial disclosures are not
       appropriate, state the party and basis for the party’s objection. NOTE: Your
       initial disclosures should include electronically stored information. Refer to
       Fed.R.Civ.P. 26(a)(1)(B).

       No objections.

IX.    Request for Scheduling Conference

             Does any party request a scheduling conference with the Court? If so,
       please state the issues which could be addressed and the position of each party.

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       No requests.

X.     Discovery Period

          a. The discovery period commences thirty days after the appearance of
             the first defendant by answer to the complaint. As stated in LR 26.2A,
             responses to initiated discovery must be completed before expiration of
             the assigned discovery period. Cases in this Court are assigned to one
             of the following three discovery tracks: (a) zero month discovery
             period, (b) four months discovery period, and (c) eight months
             discovery period. A chart showing the assignment of cases to a
             discovery track by filing category is contained in Appendix F. The track
             to which a particular case is assigned is also stamped on the complaint
             and service copies of the complaint at the time of filing. Please state
             below the subjects on which discovery may be needed.

                   Discovery may be needed to determine whether Defendant,
             Healthcare Revenue Recovery Group, LLC has violated the FDCPA,
             and O.C.G.A. § 10-1-390 et seq. of the GFBPA. Discovery may also be
             needed to find out whether Plaintiff has Article III standing under the
             FDCPA, his injuries sustained, and the amount of damages sought.

          b. If the parties anticipate that additional time beyond that allowed by the
             assigned discovery track will be needed to complete discovery or that
             discovery should be conducted in phases or be limited to or focused
             upon particular issues, please state those reasons in detail below:

                    The parties propose four months of discovery to account for
             the nature and volume of discovery needed in this case and to allow
             flexible scheduling of depositions.


XI.    Discovery Limitation and Discovery of Electronically Stored
       Information

          a. What changes should be made in the limitations on discovery imposed
             under the Federal Rules of Civil Procedure or Local Rules of this Court,
             and what other limitations should be imposed?
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                   No changes to the rules or limitations should be imposed.

         b. Is any party seeking discovery of electronically stored information?

                         Yes.

                i. The parties have discussed the sources and scope of the
                   production of electronically stored information and have agreed
                   to limit the scope of production (e.g., accessibility, search terms,
                   date limitations, or key witnesses) as follows:

                   Subject to any work product or attorney-client privilege
                   objections, the Parties agree to produce any electronically
                   stored information in hard copy (.pdf format) unless
                   otherwise agreed.

               ii. The parties have discussed the format for the production of
                   electronically stored information (e.g., Tagged Image File
                   Format (TIFF of .TIF files), Portable Document Format (PDF or
                   native), method of production (e.g., paper or disk), and the
                   inclusion or exclusion and use of metadata, and have agreed as
                   follows:

             Electronically stored information shall be produced in .pdf format
      by electronic file transfer or on a CD or DVD, where possible, unless
      otherwise requested or agreed to be produced on a different medium or
      format. Excel spreadsheets and other data, if responsive and relevant,
      will be produced in native format or in a machine-readable format, such
      as .csv. If other types of documents do not render to a readable format in
      .pdf, the Parties will meet and confer to agree upon a reasonably useable
      format.

      In the absence of agreement on issues regarding discovery of electronically
stored information, the parties shall request a scheduling conference in paragraph 9
hereof.

XII. Other Orders
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          What other orders do the parties think that the Court should enter under
        Rule 26(c) or under Rule 16(b) and (c)?

           No other orders are necessary.


XIII. Settlement Potential

        a. Lead counsel for the parties certify by their signatures below that they
           conducted a Rule 26(f) conference that was held on June ___, 2022,
           and that they participated in settlement discussions. Other persons who
           participated in the settlement discussions are listed according to party.

     For Plaintiff: Lead counsel /s/ Matthew T. Berry, Esquire
     Other participants: N/A

     For Defendant : Lead counsel /s/ Ernest H. Kohlmyer, III, Esquire
     Other participants N/A

        b. All parties were promptly informed of all offers of settlement and
           following discussion by all counsel, it appears that there is now:

                  (X) A possibility of settlement before discovery.
                  (X) A possibility of settlement after discovery.
                  (___) A possibility of settlement, but a conference with the
                        judge is needed.
                  (___) No possibility of settlement.

        c. Counsel (X) do or (___) do not intend to hold additional settlement
           conferences among themselves prior to the close of discovery. The
           proposed date of the next settlement conference is August___, 2022.

        d. The following specific problems have created a hindrance to settlement
           of this case.

           N/A.

XIV. Trial by Magistrate Judge
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            Note: Trial before a Magistrate Judge will be by jury trial if a party is
         otherwise entitled to a jury trial.

         a. The parties (___) do consent to having this case tried before a
            magistrate judge of this Court. A completed Consent to Jurisdiction by
            a United States Magistrate Judge form has been submitted to the clerk
            of court this ____ day ____________, of 2022.
         b. The parties (_x__) do not consent to having this case tried before a
            magistrate judge of this Court.

Dated as of this ___day of June 2022.

 /s/ Matthew T. Berry                   /s/ Ernest H. Kohlmyer
 Matthew T. Berry, Esq.                 Ernest H. Kohlmyer, III, Esq., LL.M.
 Georgia Bar No. 055663                 Georgia Bar No. 427760
 matt@mattberry.com                     Florida Bar No. 110108
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 Facsimile: 404-235-3333                Facsimile (407) 622-1884
 Attorneys for Plaintiff                Attorneys for Defendant Healthcare
                                        Revenue Recovery Group, LLC



                                ********************
                               SCHEDULING ORDER

      Upon review of the information contained in the Joint Preliminary Report and
      Discovery Plan form completed and filed by the parties, the Court orders that
      the time limits for adding parties, amending the pleadings, filing motions,
      completing discovery, and discussing settlement are as set out in the Federal
      Rules of Civil Procedure and the Local Rules of this Court, except as herein
      modified:


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 IT IS SO ORDERED, this _____________ day of _____________________,
 2022.
                            __________________________
                            Honorable Harold L. Murphy
                            United States District Court Judge




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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been electronically

filed on June 28th, 2022, via the Court Clerk’s CM/ECF system which will provide

notice to Matthew T. Berry, Esquire at matt@mattberry.com and Christopher N.

Armor, Esquire at chris.armor@armorlaw.com (Attorneys for Plaintiff).



                                      /s/ Ernest H. Kohlmyer, III
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